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                              EXHIBIT 1
      DR. CHI LETTER TO JUDGE WALTER 
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 Dear Hon. John F. Walter,

 I was born in 1958, 5 years after the end of the Korean War in 1953. When I was a middle school student
 in the 1970s, Korea initiated its industrial development with the full support of America. Korean
 scientists who studied in America pioneered the development effort and my earnest dream of studying
 in America was born at that time.

 With the avid support of my parents, I devoted myself to study to enroll in Korea’s best university –
 Seoul National University – engineering college. After I completed my military service as a 2nd lieutenant,
 I enrolled in the Department of Geophysics at Texas A&M University in 1985 for a doctoral course. In
 1988, I saw the birth of my first son there and it was easily one of my wonderful memories. During my
 doctoral course, I had the opportunity to work at ARCO Research Center in Dallas and I was also
 honored with a Phillips Fellowship. I returned to Korea in 1992 to help contribute to the industrial
 development of Korea.

 After my one-year post-doctoral course at KIGAM, I was formally employed at KIGAM in 1994. At that
 time in America, digital monitoring technology and internet communication were widely available and
 adapted as a standard, but at KIGAM, out-of-date analog monitoring and modem communication were
 still being used for data retrieval. I devoted my next several years to convert the infrastructure into
 digital and internet for earthquake research in Korea based on the experience and technology I obtained
 in America.

 The scope of my work actually expanded upon 2004 with the Indonesian/Sumatran Great Earthquake
 which killed 200,000 throughout the world, and the demand for earthquake instruments surged rapidly.
 For example, in 2005, an early warning system was required on the express train in Korea. At that time,
 GSL instruments did not have the function of early warning. Hence, I applied my own technology to GSL
 instruments to achieve this function.

 In 2006, North Korea conducted its very first nuclear testing. Nuclear testing monitoring and evaluation
 was my official duty at KIGAM. I acquired a very lofty reputation for my rapid and accurate evaluate of
 five North Korean nuclear tests until 2016. I honestly worked very hard for KIGAM on not only the
 nuclear testing evaluation but also on the earthquake research.

 In order to conduct performance test of KMI and GSL instruments and analyze and develop state-of-the-
 art applicable technology for many different industrial facilities, I needed much assistance. Therefore, I
 regret to say that I should have shared my technical advice fee with my valuable colleagues. Because of
 my inflated ego, I didn’t share the fruits of my labor and even concealed the remuneration from my
 colleagues. Moreover, I indeed should have reported my technical advice fee to KIGAM.

 Partly due to my personal ego, I did not maintain the trust and faith with my colleagues at KIGAM. I was
 profoundly impressed by their technical expertise and professionalism during my trial. Their presence
 certainly reminded me as to how important was our shared dedication and love for science. I am
 thankful that I had the opportunity to express to them my deepest regret and ask for their forgiveness.




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 If my criminal behavior damaged the American banking system, I truly apologize profoundly once again.
 I wanted to use the technical advice fee for my retirement in America when I retired from KIGAM. In
 order to do so through investment, I transferred money from Bank of America to Merrill Lynch. I
 honestly did not have any intention to conceal this transaction. America is a very generous and
 charitable country which provided me much knowledge, experience and doctoral degree. Especially, my
 first baby was born here in America. My family yearned to live in America and I had no intention to
 inflict any damage to this great country.

 For nine long months, from my arrest at the airport, bailout, trial to self-surrender, my most painful
 feeling was my disappointing those who trusted and supported me and my being separated from my
 loved ones. Each and every day, through the loneliness and shamefulness, I utterly regret and painfully
 look back at my greed and stupidity. I truly missed seeing my mother, wife, my babies, my brother, sister
 and friends. I lost everything in the world and gave up everything as well. My only remaining hope is
 that I will live to love all my loved ones and I want to love them more and more and more.

 It has also been very difficult to receive the news of the latest North Korean nuclear testing through my
 wife and news reports. Based on the limited information that I have received, I do have some reason to
 think that the nuke test-related measurements and evaluation are not accurate. And due to the arrest of
 me in America, it also seems that the task of reporting on the nuclear testing has been transferred from
 KIGAM to KMA. To be in jail and not to be able to use my knowledge and experience to help my
 colleagues in Korea make accurate evaluation has been very difficult for me. I know that I could help my
 country, but my own bad behavior now has caused my separation. This is my great burden, pain and
 regret.

 Dear Your Honor, I truly regret my crime and want to apologize to you in earnest. I so much want to be
 reunited with my beloved family and friends as quickly as possible. Please, I beseech you to grant me
 your benevolence. I am truly and deeply sorry for my action.



 Sincerely,

 Dr. Heon-Cheol Chi




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                                        Exh. 1 to Dr. Chi Sentencing Position, p. 6
